              Case 22-11068-JTD             Doc 26039         Filed 09/30/24        Page 1 of 51




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)

                                                              Ref. Nos. 22573, 22574, 22576 23047, 23048,
                                                              23049, 23139, 23140, 23145, 23146, 23147, 23148,
                                                              23158, 23159, 23162, 23167, 23169, 23178, 23366,
                                                              23610, 24028, 24511, 24568, 24572 & 25664.

         DEBTORS’ OMNIBUS REPLY TO OBJECTIONS TO CONFIRMATION OF
           THE SECOND AMENDED JOINT PLAN OF REORGANIZATION OF
                 FTX TRADING LTD. AND ITS DEBTOR AFFILIATES




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
                  Case 22-11068-JTD                      Doc 26039             Filed 09/30/24              Page 2 of 51




                                                     TABLE OF CONTENTS

                                                                                                                                            Page

PRELIMINARY STATEMENT .....................................................................................................1

REPLY .............................................................................................................................................3

I.         The Plan’s Treatment of FTT is Proper. ..............................................................................3

           A.         FTT Is Properly Valued at Zero. ............................................................................. 3

           B.         FTT Claims Are Properly Classified in the Plan .................................................... 5

II.        The Plan is Confirmable, Does Not Discriminate, and Satisfies the Good Faith
           Requirement of Section 1129(a)(3). ....................................................................................6

           A.         The Customer Preference Settlement Does Not Violate Section 1123(a)(4)
                      of the Bankruptcy Code. ......................................................................................... 7

           B.         The Plan Was Proposed in Good Faith. ................................................................ 10

           C.         The Plan Does Not Improperly Treat Liquidated Claims as Disputed
                      Claims. .................................................................................................................. 13

III.       The Plan Does Not Seek to Disallow KYC-Deficient Claims. ..........................................16

IV.        The Plan Properly Classifies the Celsius Claims as General Unsecured Claims. .............17

           A.         Celsius Lacks Standing to Challenge the Elements of the Plan Implicated
                      in Its Objection Because the Time-Barred Preference Claims Should Be
                      Disallowed. ........................................................................................................... 18

           B.         The Plan Properly Classifies the Celsius Claims. ................................................. 19

           C.         The Plan’s Distribution Procedures Are Proper.................................................... 21

V.         The Plan Adequately Preserves Parties’ Rights With Respect to a Disputed
           Claims Reserve. .................................................................................................................23

           A.         The Disputed Claims Reserve Provision in the Plan Complies with Section
                      1123(a)(4) of the Bankruptcy Code. ..................................................................... 24

           B.         The Plan’s Definition of “Disputed Claims” Is Proper. ........................................ 25

VI.        The Plan’s Voluntary Releases Are Consensual and Should Be Approved. .....................27

VII.       The Plan Does Not Extinguish ELD Capital LLC’s Fraud Claims without their
           Consent. .............................................................................................................................33


                                                                  -i-
                 Case 22-11068-JTD                   Doc 26039            Filed 09/30/24             Page 3 of 51




VIII.     The Remaining Objections Should Be Overruled. ............................................................33

          A.         In Kind Distributions Are Not Required Under the Bankruptcy Code. ................ 33

          B.         The Plan is a Permissible 9019 Settlement. .......................................................... 34

          C.         The Plan Provides Fair Treatment to the Convenience Classes. .......................... 35

          D.         The Information Provided in the Plan Administration Agreement and
                     Liquidating Trust Agreement is Sufficient. .......................................................... 37

          E.         The Late Objection Filed By Mr. Gunawan Should be Overruled. ...................... 40

CONCLUSION ..............................................................................................................................43




                                                             -ii-
                 Case 22-11068-JTD                  Doc 26039            Filed 09/30/24            Page 4 of 51




                                              TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

In re Am. Cap. Equip., LLC,
    688 F.3d 145 (3d Cir. 2012).....................................................................................................11

In re Am. Elec. Tel. Co.,
    211 F. 88 (7th Cir. 1914) .........................................................................................................22

In re Am. Solar King. Corp.,
    90 B.R. 808 (Bankr. W.D. Tex. 1988) .....................................................................................39

In re AppOnline.com, Inc.,
    315 B.R. 259 (Bankr. E.D.N.Y. 2004) .....................................................................................12

In re Berman & Co.,
    378 F.2d 252 (6th Cir. 1967) ...................................................................................................23

In re Bowflex Inc.,
    Case No. 24-12364 (ABA) (Bankr. D.N.J. Aug. 19, 2024) .....................................................29

In re Brickell,
    292 B.R. 705 (Bankr. S.D. Fla. 2003)......................................................................................23

In re Capmark Fin. Grp. Inc.,
    2011 WL 6013718 (Bankr. D. Del. Aug. 24, 2011) ................................................................19

In re Carbonlite Holdings LLC,
    Case No. 21-10527 (JTD) (Bankr. D. Del. Sept. 7, 2021) .......................................................25

In re Chandler,
    459 B.R. 215 (Bankr. E.D. Pa. 2011) ......................................................................................40

In re Chaparral Energy Inc.,
    Case No. 20-11947 (MFW) (Bankr. D. Del. Oct. 1, 2020) .....................................................28

In re Chassix Holdings Inc.,
    533 B.R. 64 (Bankr. S.D.N.Y. 2015) .......................................................................................31

In re Cir. City Stores, Inc.,
    426 B.R. 560 (Bankr. E.D. Va. 2010) ......................................................................................14

Cohen v. KB Mezzanine Fund II, LP (In re SubMicron Sys. Corp.),
   432 F.3d 448 (3d Cir. 2006).......................................................................................................5




                                                            -iii-
                 Case 22-11068-JTD                   Doc 26039             Filed 09/30/24            Page 5 of 51




Cunningham v. Brown,
   265 U.S. 1 (1924) .....................................................................................................................12

Danning v. Bozek (In re Bullion Reserve of N. Am.),
   836 F.2d 1214 (9th Cir. 1988) .................................................................................................12

In re Davis,
    889 F.2d 658 (5th Cir. 1989) .............................................................................................13, 14

In re Energy Future Holdings Corp.,
    648 Fed. App’x 277 (3d Cir. 2016)............................................................................................9

In re Enron Corp.,
    340 B.R. 180 (Bankr. S.D.N.Y. 2006) ...............................................................................15, 16

In re Extraction Oil & Gas, Inc.,
    Case No. 20-11548 (CSS) (Bankr. D. Del. Dec. 28, 2020) .....................................................27

In re Global Eagle Entertainment Inc.,
    Case No. 20-11835 (JTD) (Bankr. D. Del. Jan. 29, 2021).................................................25, 34

Goldberg v. New Jersey Lawyers’ Fund for Client Protection,
   932 F.2d 273 (3d. Cir. 1991)....................................................................................................13

Harrington v. Purdue Pharma L.P.,
   144 S. Ct. 2071 (2024) .........................................................................................................2, 27

Harrison v. Konfino (In re A.N. Frieda Diamonds, Inc.),
   616 B.R. 295 (Bankr. S.D.N.Y. 2020) .....................................................................................14

Hsin-Chi Su v. Offshore Grp. Inv. Ltd. (In re Vantage Drilling Int’l),
   603 B.R. 538 (D. Del. 2019) ..............................................................................................18, 20

In re Indianapolis Downs, LLC,
    486 B.R. 286 (Bankr. D. Del. 2013) ........................................................................................29

In re Invitae Corp.,
    Case No. 24-11362 (MBK) (Bankr. D.N.J. July 20, 2024) .....................................................29

Matter of Jersey City Med. Ctr.,
   817 F.2d 1055 (3d Cir. 1987)...................................................................................................20

In re LATAM Airlines Grp. SA,
    2022 WL 2206829 (Bankr. S.D.N.Y. June 18, 2022)..............................................................32

In re Lids Corp.,
    260 B.R. 680 (Bankr. D. Del. 2001) ........................................................................................15




                                                              -iv-
                 Case 22-11068-JTD                  Doc 26039           Filed 09/30/24            Page 6 of 51




In re Lifeco Inv. Grp., Inc.,
    173 B.R. 478 (Bankr. D. Del. 1994) ........................................................................................19

In re Lighthouse Res. Inc.,
    Case No. 20-13056 (JTD) (Bankr. D. Del. Mar. 10, 2021) .....................................................25

In re Linda Vista Cinemas, L.L.C.,
    442 B.R. 724 (Bankr. D. Ariz. 2010) .......................................................................................38

In re Logan,
    2010 WL 1286651 (Bankr. E.D. Va. Mar. 29, 2010) ..............................................................23

In re Mallinckrodt PLC,
    639 B.R. 837 (Bankr. D. Del. 2022) ............................................................................20, 27, 29

In re Mallinckrodt PLC,
    Case No. 20-12522 (JTD) (Bankr. D. Del. Feb. 18, 2022) ......................................................34

Meoli v. Kendall Electric, Inc. (In re R.W. Leet Electric, Inc.),
  372 B.R. 846 (6th Cir. 2007) ...................................................................................................41

Mesabi Metallics Co. LLC v. B. Riley FBR, Inc. (In re Essar Steel Minnesota, LLC),
   652 B.R. 709 (Bankr. D. Del. 2023) ..........................................................................................4

In re Motors Liquidation Co.,
    447 B.R. 198 (Bankr. S.D.N.Y. 2011) ...............................................................................24, 26

Myers v. Martin (In re Martin),
   91 F.3d 389 (3d Cir. 1996).........................................................................................................9

Official Comm. of the Unsecured Creditors of Color Tile, Inc. v. Blackstone
    Family Inv. Pshp. (In re Color Tile, Inc.),
    2000 WL 152129 (D. Del. Feb. 9, 2000) ...................................................................................5

In re Owens Corning,
    419 F.3d 195 (3d Cir. 2005).....................................................................................................10

Peachtree Special Risk Brokers v. Kartzman (In re Rocco Co.),
   2014 WL 7404566 (D.N.J. Dec. 29, 2014) ..............................................................................13

Picard v. Fairfield Greenwich Ltd.,
   762 F.3d 199 (2d Cir. 2014).....................................................................................................11

In re PWS Holding Corp.,
    228 F.3d 224 (3d Cir. 2000).....................................................................................................11

In re Robertshaw US Holding Corp.,
    2024 WL 3897812 (Bankr. S.D. Tex. Aug. 16, 2024).............................................................28



                                                            -v-
                  Case 22-11068-JTD                    Doc 26039             Filed 09/30/24             Page 7 of 51




In re Sentinel Mgmt. Group,
    398 B.R. 281 (N.D. Ill. 2008) ..................................................................................................39

In re Sierra-Cal,
    210 B.R. 168 (Bankr. E.D. Cal. 1997) .....................................................................................14

In re SiO2 Medical Products, Inc.,
    Case No. 23-10366 (JTD) (Bankr. D. Del. July 17, 2023) ......................................................34

In re Skillsoft Corporation,
    Case No. 20-11532 (MFW) (Bankr. D. Del. Aug. 6, 2020) ....................................................28

In re Smallhold, Inc.,
    2024 WL 4296938 (Bankr. D. Del. Sept. 25, 2024) ................................................................32

In re Southland Royalty Company, LLC,
    Case No. 20-10158 (KBO) (Bankr. D. Del. May 20, 2021) ....................................................26

Stoebner v. Consumers Energy Co. (In re LGI Energy Solutions),
    460 B.R. 720 (8th Cir. 2011) ...................................................................................................12

Travelers Indemnity Co. v. Bailey,
   557 U.S. 137 (2009) ...................................................................................................................4

In re Trib. Co.,
    476 B.R. 843 (Bankr. D. Del. 2012) ........................................................................................26

In re Ultimate Acquisition Partners, LP,
    2012 WL 1556098 (Bankr. D. Del. May 1, 2012) ...................................................................15

Varela v. Dynamic Brokers, Inc. (In re Dynamic Brokers, Inc.),
   293 B.R. 489 (B.A.P. 9th Cir. 2003)........................................................................................35

In re W.R. Grace & Co.,
    475 B.R. 34 (D. Del. 2012) ......................................................................................................11

In re Z Gallerie, LLC,
    Case No. 19-10488 (LSS) (Bankr. D. Del. June 14, 2019)......................................................28

Statutes

11 U.S.C. § 1122 ............................................................................................................................19

11 U.S.C. § 1123 ............................................................................................................................24

11 U.S.C. § 1129 ................................................................................................................37, 38, 39

11 U.S.C. § 502 ..............................................................................................................................13



                                                               -vi-
                Case 22-11068-JTD                 Doc 26039          Filed 09/30/24           Page 8 of 51




Other Authorities

Collier on Bankruptcy (16th ed. 2024) ..........................................................................................38

Garnishment Definition, Black’s Law Dictionary (12th Ed. 2024) ...............................................22




                                                         -vii-
              Case 22-11068-JTD             Doc 26039        Filed 09/30/24        Page 9 of 51




                 FTX Trading Ltd. and its affiliated debtors and debtors-in-possession

(collectively, the “Debtors”) hereby submit this reply (the “Reply”) to objections to the

confirmation of the Second Amended Joint Chapter 11 Plan of Reorganization of FTX Trading

Ltd. and its Debtor Affiliates [D.I. 26029] (as may be amended, supplemented or modified from

time to time and including all appendices thereto, the “Plan” and all objections thereto

collectively, the “Objections”). The Debtors have concurrently filed a memorandum setting

forth their affirmative case in support of confirmation of the Plan (the “Confirmation Brief”). 2 In

response to the Objections, the Debtors respectfully state as follows.

                                    PRELIMINARY STATEMENT

                          The Plan satisfies all of the requirements of the Bankruptcy Code and is

overwhelmingly supported by each class entitled to vote on the Plan. The Plan provides for

recoveries on Allowed Claims projected to be paid, in full, to all customers and certain other

creditors. Additionally, many customers and creditors are entitled to interest and additional

payments from the Supplemental Remission Fund.

                          This extraordinary result is made possible due to a determined and

methodical effort by the Debtors to identify, locate, recover, and monetize assets, and to work

with numerous stakeholders to achieve consensus on key issues one-by-one throughout these

Chapter 11 Cases. The Debtors have worked closely with their major creditor constituencies,

including the Official Committee, the Ad Hoc Committee, the Bahamas JOLs, the Commodity

Futures Trading Commission, several state attorneys general, putative class action plaintiffs,

Emergent Fidelity Technologies Ltd., BlockFi Inc. and its affiliated debtors, and the lead




2
    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Plan and
    Confirmation Brief, as applicable.
            Case 22-11068-JTD         Doc 26039        Filed 09/30/24    Page 10 of 51




plaintiffs in the FTX multi-district litigation, as well as various offices within the United States

Department of Justice, to develop and propose a nearly consensual Chapter 11 Plan that

maximizes recoveries to creditors.

                       The support for the Plan is evident from the overwhelmingly positive

voting results and relative paucity of objections received, despite this being one of the most

complex chapter 11 cases in history and the Debtors having millions of stakeholders worldwide.

A total of only 19 objections and other responses were filed. The Debtors have worked, and

continue to work, in good faith to resolve the Objections, including with certain changes made to

the Plan or proposed Confirmation Order.

                       Nonetheless, a small number of parties have persisted in pursuing

objections that lack merit and are primarily designed to advance parochial interests in defending

or pursuing litigation unrelated to the Plan. The Court should reject all of these efforts to

interfere with the approval of the Plan—a step of paramount importance in the Debtors’ process

of returning value to creditors.

                       Certain of the Objections take issue with the release provisions contained

in the Plan in the wake of Harrington v. Purdue Pharma L.P., 144 S. Ct. 2071 (2024). But

Purdue is irrelevant. As the U.S. Supreme Court itself made clear, nothing in the Purdue

decision “should be construed to call into question consensual third-party releases offered in

connection with a bankruptcy reorganization plan” or “express a view on what qualifies as a

consensual release.” Purdue, 144 S. Ct. at 2087-88 (emphasis in original). These Objections are

an overreaching and incorrect application of the law, especially in the context of these cases.

Other Objections come from parties engaged in litigation with the Debtors and are thinly veiled

attempts to advance their interests at the expense of all other creditors and stakeholders. To the




                                                 -2-
            Case 22-11068-JTD        Doc 26039       Filed 09/30/24    Page 11 of 51




extent any Objections have not been resolved or addressed via the Debtors’ changes to the Plan

and Confirmation Order, such Objections should be overruled on the merits and the Plan should

be confirmed.

                                            REPLY

                      As of the time of filing this Reply, there are only 10 parties remaining

with portions of unresolved objections. For ease of reference, the Debtors have attached a chart

hereto as Exhibit 1, showing the status of the Objections received, how certain Objections were

addressed and what remains outstanding (the “Omnibus Reply Chart”).

I.     The Plan’s Treatment of FTT is Proper.

                      Kihyuk Nam (“Nam”) and those supporting his objection (the “Nam

Parties”) object to the Plan’s classification and valuation of FTT tokens [D.I. 22573] (the “Nam

Objection”). The Nam Parties argue that the Debtors have treated FTT holders unfairly, that

FTT has been misclassified in the Plan, and that “the valuation of FTT has not been conclusively

determined.” (Nam Obj. ¶ 22.) In the Nam Parties’ assessment, the Court’s “initial valuation of

FTT at $0 should not be considered final or binding.” (Id.) But the valuation of FTT was

conclusively determined in the Estimation Order following an evidentiary hearing, and thus any

reclassification would be moot for practical purposes of distribution. The Nam Parties merely

seek to re-litigate the issue of FTT valuation—an issue that has already been decided by this

Court and memorialized in a final order.

       A.       FTT Is Properly Valued at Zero.

                      This Court has conclusively deemed the value of FTT as zero. See Order

Granting Motion of Debtors to Estimate Claims Based on Digital Assets [D.I. 7090] (the

“Estimation Order”). The Debtors’ expert, Professor Sabrina Howell, in the Declaration of

Sabrina T. Howell in Support of the Motion of Debtors to Estimate Claims Based on Digital


                                               -3-
            Case 22-11068-JTD         Doc 26039        Filed 09/30/24    Page 12 of 51




Assets [D.I. 5203] (the “Howell Report”), explained that FTT has no fundamental value because

it has no utility outside of an operating FTX.com exchange. FTT’s key features, including token

burn, voting rights, “airdrops,” and investment rights are eliminated without such an exchange.

(Howell Rep. ¶¶ 15, 43-44, 85-87.) Based on the evidence presented, this Court held that FTT

was valued appropriately at zero. [D.I. 7090].

                       The Court’s Estimation Order establishing FTT’s value is binding and res

judicata, and cannot be collaterally attacked under the guise of a plan objection. Travelers

Indemnity Co. v. Bailey, 557 U.S. 137, 152 (2009) (final orders of bankruptcy court are “res

judicata to the parties and those in privity with them, not only as to every matter which was

offered and received to sustain or defeat the claim or demand, but as to any other admissible

matter which might have been offered for that purpose”) (internal quotations omitted); see also

Mesabi Metallics Co. LLC v. B. Riley FBR, Inc. (In re Essar Steel Minnesota, LLC), 652 B.R.

709, 720 (Bankr. D. Del. 2023) (“once a judgment becomes final and non-appealable, it is

binding on all parties thereto that received constitutionally adequate notice thereof.”).

                       In attempting to avoid the Court’s conclusive determination of the value of

FTT, the Nam Parties point to a single sentence in the Estimation Order. In the Estimation

Order, the Court provided that:

               Notwithstanding anything to the contrary in the Motion or this Order,
               nothing in the Motion, this Order or the Digital Asset Conversion Table, or
               any evidence offered in support of the foregoing, shall determine the
               classification of FTT under any plan, and all parties’ rights in this regard
               are expressly reserved.

(Estimation Order ¶ 7 (emphasis added).) From that reservation of rights, the Nam Parties argue

“the value of FTT has not been legally finalized.” (Nam Obj. ¶ 2.) This is an obvious

misreading of the Estimation Order. Classification of a claim is distinct from its value, as noted

in the preceding sentence in the Estimation Order:


                                                 -4-
             Case 22-11068-JTD             Doc 26039          Filed 09/30/24        Page 13 of 51




                 In the event that the Plan is modified such that there would be an operating
                 exchange utilizing FTT as a utility token following confirmation of such
                 Plan, nothing in the Motion, this Order or the Digital Asset Conversion
                 Table, or any evidence offered in support of the foregoing, shall alter, affect,
                 determine or estimate the value of FTT, and all parties’ rights in such
                 circumstances are expressly reserved.

(Estimation Order ¶ 6 (emphasis added).)

                          Because there will be no operating exchange utilizing FTT as a utility

token following the Confirmation Date, the value of FTT is conclusively determined to be zero.

The reclassification of claims based on FTT from FTT Customer Entitlement Claims to

Customer Entitlement Claims, as the Nam Parties seemingly request, would not change this fact,

and would still result in holders of FTT receiving no value for claims based on FTT. 3

        B.       FTT Claims Are Properly Classified in the Plan

                          Although the Nam Objection confused the classification of FTT in the

Plan with its value, the Debtors nevertheless have a clear basis for grouping claims on account of

FTT into a separate class in the Plan. In determining whether a novel instrument is an equity

security, courts view the “overarching inquiry” as essentially whether the party contributing

funds “does so as a banker (the party expects to be repaid with interest no matter the borrower’s

fortunes; therefore, the funds are debt) or as an investor (the funds infused are repaid based on

the borrower’s fortunes; hence, they are equity).” Cohen v. KB Mezzanine Fund II, LP (In re

SubMicron Sys. Corp.), 432 F.3d 448, 456 (3d Cir. 2006) (emphasis added). This question may

be answered by the characteristics of a particular instrument. See Official Comm. of the



3
    Each of the Nam Parties (other than Nam), like all holders of customer claims, were timely served with the
    Digital Assets Estimation Motion in December of 2023 and had ample opportunity to object. Nam, who
    purchased an FTT claim as of June 26, 2024 (see [D.I. 19084]), was not on the claims register at the time of
    filing, and therefore did not receive service of the Estimation Motion (although the transferor of Nam’s claim
    was served with such motion). Nam purchased a claim for FTT long after the Estimation Motion was filed,
    after the well-publicized valuation of FTT was established in the Estimation Order, and after the Debtors had
    filed the first draft of the Plan treating FTT as equity.



                                                        -5-
           Case 22-11068-JTD         Doc 26039       Filed 09/30/24    Page 14 of 51




Unsecured Creditors of Color Tile, Inc. v. Blackstone Family Inv. Pshp. (In re Color Tile, Inc.),

2000 WL 152129, at *4 (D. Del. Feb. 9, 2000) (noting a seven-factor test that focuses, inter alia,

on whether voting rights exist and certainty of payment).

                      As described in the Howell Report, which was accepted into evidence and

relied upon for the Court’s Estimation Order, FTT had unique, equity-like features, such as token

burn (akin to stock buybacks), voting and governance rights, and “airdrops” (akin to dividends).

(Howell Rep. ¶¶ 15, 43-44, 85-87.) Additionally, the Howell Report describes that, like regular

stock in a corporation, the value of FTT derived from its enterprise’s future cash flows. (Howell

Rep. ¶¶ 42-45.) Because of these features, among others, the Debtors properly classified FTT as

an equity class under the Plan. Accordingly, the Nam Objection should be overruled.

II.    The Plan is Confirmable, Does Not Discriminate, and Satisfies the Good Faith
       Requirement of Section 1129(a)(3).

                      LayerZero Labs Ltd., Ari Litan, and Skip & Goose LLC (collectively, the

“LayerZero Group”) object to the Plan on the grounds that the Plan discriminates unfairly, was

not proposed in good faith, and improperly treats liquidated claims as if they were unliquidated

[D.I. 23158] (the “LayerZero Objection”). None of these objections has any merit. The

LayerZero Group’s objection is part of their ongoing effort to gain some perceived tactical

advantage in an adversary proceeding commenced by the Debtors against the LayerZero Group

to recover the hundreds of millions of dollars’ worth of assets the LayerZero Group wrongfully

extracted from the Debtors estates shortly before the Petition Date (Adv. Proc. No. 23-50492, the

“LayerZero Avoidance Action”). Accordingly, for the reasons set forth below, the LayerZero

Objection should be overruled.




                                               -6-
            Case 22-11068-JTD          Doc 26039        Filed 09/30/24    Page 15 of 51




       A.      The Customer Preference Settlement Does Not Violate Section 1123(a)(4) of
               the Bankruptcy Code.

                         The LayerZero Group asserts that the Plan discriminates unfairly, in

violation of section 1123(a)(4) of the Bankruptcy Code, because section 5.5 of the Plan may

result in only certain creditors being eligible for the Customer Preference Settlement.

(LayerZero Obj. ¶¶ 29-35.) The first fatal flaw in the LayerZero Group’s objection is their

attempt to characterize the Customer Preference Settlement as part of a “grand bargain” extended

to each creditor under the global settlement provisions contained in section 5.2 of the Plan (the

“Global Settlement”). (LayerZero Obj. ¶ 30.) The LayerZero Group therefore argues that the

Plan offers some creditors, but not all creditors, different treatment in satisfaction of their

Claims, in violation of section 1123(a)(4) of the Bankruptcy Code. (Id. ¶¶ 29-30.) This is

wrong. Contrary to the LayerZero Group’s assertions, as with other settlements implemented

through the Plan (see, e.g., § 5.3 (discussing the FTX DM Global Settlement)), the Customer

Preference Settlement is a completely separate and severable settlement contained within another

section of the Plan, is not “integral to the settlement of customer property disputes” (LayerZero

Obj. ¶ 12), and does not “implicate[] the same issues” (id. ¶ 30) as customer property disputes or

the Global Settlement.

                         The Customer Preference Settlement resulted from extensive discussions

with the Official Committee, the Ad Hoc Committee, and other stakeholders, is presented

separately in Section 5.5 of the Plan, and was detailed in the Disclosure Statement approved by

this Court. The Customer Preference Settlement is not a plan or claim treatment provided on

account of Customer Entitlement Claims. Rather, the Debtors determined they would make an

offer to waive and not prosecute Customer Preference Actions, subject to acceptance of the

offer’s terms and as long as the Customer Entitlement Claim did not fall into certain categories



                                                  -7-
            Case 22-11068-JTD          Doc 26039        Filed 09/30/24    Page 16 of 51




of Claims that the Debtors were not willing to include in the offer at this time. (Coverick Decl.

¶ 29.)

                       The Debtors used the plan solicitation process to communicate their offer

to certain creditors whereby the Debtors would agree to waive and not prosecute Customer

Preference Actions (other than any Excluded Customer Preference Action) against any Holder of

Dotcom Customer Entitlement Claims or U.S. Customer Entitlement Claims, if such Holder

accepted the offer by duly executing and timely returning a valid Ballot by the Voting Deadline

that, in return, (i) voted to accept the Plan and (ii) consented and stipulated to the amount of such

Dotcom Customer Entitlement or U.S. Customer Entitlement Claim for voting, allowance and

Distribution purposes. (Plan § 5.5.) This settlement offer is not on account of any creditors’

claim against the Debtors.

                       Nor could it be. Every potential preference claim is different, has

potentially different defenses to it, and constitutes a claim by the Debtors against a customer that

is unrelated to that customer’s Claim against the Debtors. The Debtors, in consultation with

their major stakeholders, determined which types of Customer Preference Actions should be

preserved, and declined to make a settlement offer with respect to those Claims at this time. The

Debtors are not required to offer the opportunity to participate in the Customer Preference

Settlement to each and every creditor. The Debtors were well within their discretion to exclude

Customer Preference Actions that satisfied their disclosed criteria, which the claims against the

LayerZero Group met. Preference defendants like the LayerZero Group who may have had

knowledge of the commingling and misuse of customer deposits or are otherwise involved with

the Debtors in other litigation regarding valuable assets, are clearly differently situated and it is

prudent for the Debtors to retain those Customer Preference Actions. (Id.)




                                                  -8-
            Case 22-11068-JTD         Doc 26039        Filed 09/30/24     Page 17 of 51




                       Since the Customer Preference Settlement is outside the scope of the

Plan’s treatment of Claims, there can be no unfair discrimination and section 1123(a)(4) is

inapplicable. “[U]nder its plain language,” section 1123(a)(4) “applies only to a plan of

reorganization, and therefore not to pre-confirmation settlements.” In re Energy Future

Holdings Corp., 648 Fed. App’x 277, 283 (3d Cir. 2016). Accordingly, the correct standard by

which to judge the Customer Preference Settlement is the set of factors applicable to settlements

under Bankruptcy Rule 9019. Myers v. Martin (In re Martin), 91 F.3d 389, 393 (3d Cir. 1996).

As addressed in the Confirmation Brief, the Customer Preference Settlement easily satisfies each

applicable Martin factor. (Confirmation Brief, Argument § II.D.) And all Holders of Dotcom

Customer Entitlement Claims and U.S. Customer Entitlement Claims receive the same plan

treatment on account of Allowed Claims.

                       The LayerZero Group further asserts that their exclusion from the

Customer Preference Settlement is improper because the Causes of Actions held by the Debtors

against the LayerZero Group are brought by “unrelated Debtors.” (LayerZero Obj. ¶ 35.) But

this argument fails to acknowledge the impact that substantive consolidation under the Plan will

have on the Debtors.

                       Substantive consolidation will effectively disregard the separate legal

identities of the various Debtors for Plan purposes, blending their assets and liabilities to create a

single, consolidated bankruptcy estate. (Confirmation Brief, Argument § II.B.) As a result, the

LayerZero Group’s argument that the Causes of Actions against them are held by “unrelated

Debtors” is incorrect. The Plan does not unfairly discriminate and satisfies the requirements of

Section 1123(a)(4) of the Bankruptcy Code.




                                                 -9-
            Case 22-11068-JTD         Doc 26039         Filed 09/30/24   Page 18 of 51




                       The LayerZero Group argues that the substantive consolidation under the

Plan and the Customer Preference Settlement are being used by the Debtors to “punish a creditor

for the relationship between that creditor and a wholly different debtor[.]” (LayerZero Obj.

¶ 44.) The LayerZero Group purports to rely on In re Owens Corning, 419 F.3d 195 (3d Cir.

2005) in its objection, stating that “substantive consolidation ‘may not be used . . . to

disadvantage tactically a group of creditors or to alter creditor rights.” (LayerZero Obj. ¶ 44.)

This is misleading. What Owens Corning actually held was that substantive consolidation “may

not be used offensively (for example, having a primary purpose to disadvantage tactically a

group of creditors in the plan process or to alter creditor rights).” In re Owens Corning, 419 F.3d

at 211 (emphasis added).

                       Here, substantive consolidation is not being used offensively, much less

with a primary purpose to tactically disadvantage a group of creditors. (Confirmation Brief,

Argument § II.B.) As described in detail in the Confirmation Brief and supporting declaration,

substantive consolidation was the best, and only realistic, path forward for maximizing creditor

recovery given the dearth of financial controls at the prepetition FTX Group. (Id.; see also

Mosley Decl. § VII.) Accordingly, LayerZero’s objection with respect to substantive

consolidation and its relation to the Customer Preference Settlement should be overruled.

       B.      The Plan Was Proposed in Good Faith.

                       The LayerZero Group next argues that the Plan violates section 1129(a)(3)

of the Bankruptcy Code because it was not proposed “in good faith.” (LayerZero Obj. ¶¶ 36.)

This objection is baseless. Nothing in the Bankruptcy Code compels the Debtors to give

credence to the meritless defenses asserted by the LayerZero Group in the LayerZero Avoidance

Action. Nor does the Bankruptcy Code require the Debtors to toss the Plan aside in response to

an incorrect, unsupported assertion by the LayerZero Group “that the Debtors never had an


                                                 -10-
            Case 22-11068-JTD         Doc 26039        Filed 09/30/24    Page 19 of 51




interest in the property of the FTX.com and FTX US customer deposits, and, therefore could not

bring preference causes of action against” the LayerZero Group and others. (LayerZero Obj.

¶ 5.)

                       Although “good faith” is not defined in the Bankruptcy Code, a plan will

be found in good faith if it “fairly achieve[s] a result consistent with the objectives and purposes

of the Bankruptcy Code.” In re PWS Holding Corp., 228 F.3d 224, 242 (3d Cir. 2000); see also

In re Am. Cap. Equip., LLC, 688 F.3d 145, 156-57 (3d Cir. 2012) (noting that the objectives

underlying the Bankruptcy Code include “maximizing property available to satisfy creditors,”

“discourag[ing] debtor misconduct” and “the expeditious liquidation and distribution of the

bankruptcy estate to its creditors”) (cleaned up). Courts also consider whether the plan “has been

proposed with honesty and good intentions and with a basis for expecting that reorganization can

be effected” and “[exhibits] a fundamental fairness in dealing with the creditors . . . .” In re W.R.

Grace & Co., 475 B.R. 34, 87-88 (D. Del. 2012) (internal quotations and citations omitted).

Here, the Plan was clearly proposed in good faith. (Coverick Decl. ¶¶ 6, 42-43.) The Debtors

have worked diligently since the beginning of these Chapter 11 Cases with key stakeholders to

reach a value-maximizing resolution that provides a comprehensive path to effectiveness and

distributions.

                       The LayerZero Group cannot show bad faith by pointing to matters in

dispute in the LayerZero Avoidance Action because the Plan does nothing to affect any assets

that the LayerZero Group took from the Debtors before the Petition Date. Such assets will “not

become property of the [Debtors’] estate[s] under the Bankruptcy Code until the [Debtors]

obtain[] a favorable judgment” in the LayerZero Avoidance Action. Picard v. Fairfield

Greenwich Ltd., 762 F.3d 199, 212 (2d Cir. 2014). The Plan addresses the distribution of




                                                -11-
            Case 22-11068-JTD          Doc 26039         Filed 09/30/24    Page 20 of 51




completely different assets than those at issue in the LayerZero Avoidance Action: assets in the

possession of the Debtors as of the Petition Date and those that have been subsequently acquired

by the Debtors.

                        Regardless, the LayerZero Group’s arguments about what constitutes

property of the Debtors’ estates are baseless and directly contrary to black letter law. (LayerZero

Obj. ¶¶ 5, 37-41.) Assets that customers deposited were commingled together and with the

Debtors’ assets in addresses and bank accounts controlled by the Debtors and, as a result, they

are presumptively property of the Debtors’ estates. (See Confirmation Brief, Argument § II.C.i.)

“Put another way, if funds are commingled, then even the existence of an escrow or other

express trust will not protect the beneficiary in a preference action because the very fact of the

commingling shows that the debtor had the ability to control the disposition of the funds at

issue.” In re AppOnline.com, Inc., 315 B.R. 259, 277 (Bankr. E.D.N.Y. 2004).

                        Accordingly, if the LayerZero Group wants to assert a defense in the

LayerZero Avoidance Action based on purported property rights, it must (i) establish the

property rights that it claims to have had over the assets it deposited, and (ii) fulfill its “duty

under federal bankruptcy law to trace” its deposits into the assets it received. Danning v. Bozek

(In re Bullion Reserve of N. Am.), 836 F.2d 1214, 1217-18 (9th Cir. 1988). The LayerZero

Group cannot invoke the purported property rights of all customers in the abstract to justify

retaining a specific preferential transfer that it received at the expense of those customers and

other creditors. See, e.g., Cunningham v. Brown, 265 U.S. 1, 13 (1924) (sustaining preference

claims asserted against victims of Charles Ponzi by bankruptcy trustees because the victims

could not trace the funds they obtained to the funds they personally handed to Ponzi); Stoebner

v. Consumers Energy Co. (In re LGI Energy Solutions), 460 B.R. 720, 724, 732-33 (8th Cir.




                                                  -12-
            Case 22-11068-JTD         Doc 26039        Filed 09/30/24    Page 21 of 51




2011) (holding that it was reversible error for a bankruptcy court to allow a preference defendant

to assert a defense based on the property rights of others).

                       As a result, the LayerZero Group’s scattershot citations to different parts

of the FTX.com Terms of Service (the “Dotcom TOS”) and the FTX.US User Agreement (the

“US TOS” and together with the Dotcom TOS, the “TOS”) are irrelevant. (LayerZero Obj.

¶¶ 39-40.) These citations do nothing to establish that the LayerZero Group or any other

customer had any property rights, which the Debtors address in the Confirmation Brief.

(Confirmation Brief, Argument § II.C.) More importantly, the LayerZero Group’s citations do

nothing to establish how any assets the LayerZero Group took from the Debtors are traceable to

any assets over which the LayerZero Group asserts any property rights. Where disputed assets

come from commingled accounts controlled by the debtors, the party seeking to assert rights

over them must “identify and trace” the funds. Goldberg v. New Jersey Lawyers’ Fund for

Client Protection, 932 F.2d 273, 280 (3d. Cir. 1991); accord Peachtree Special Risk Brokers v.

Kartzman (In re Rocco Co.), 2014 WL 7404566, at *5-6 (D.N.J. Dec. 29, 2014) (collecting

cases). LayerZero has not done this, nor would they or other customers be able to do so.

(Confirmation Brief, Argument § II.C.x.)

       C.      The Plan Does Not Improperly Treat Liquidated Claims as Disputed Claims.

                       The LayerZero Group alleges that the Plan improperly disallows

distributions without a judicial determination, but they are mistaken. (LayerZero Obj. ¶¶ 45-

46.) Section 502(d) of the Bankruptcy Code states that a court “shall disallow any claim” of a

transferee of a voidable transfer if the transferee has not paid or turned over the property subject

to the voidable transfer. 11 U.S.C. § 502(d). The provision is designed to “insur[e] compliance

with judicial orders.” In re Davis, 889 F.2d 658, 661 (5th Cir. 1989). The LayerZero Group is

correct that a court may not permanently disallow a claim under section 502(d) until there is a


                                                -13-
            Case 22-11068-JTD         Doc 26039        Filed 09/30/24    Page 22 of 51




judicial determination on the preference, but they are incorrect in their characterization of the

Plan.

                       The Plan simply defers distributions of the LayerZero Group’s claims so

that the LayerZero Avoidance Action may be adjudicated in order to determine disallowance

pursuant to section 502(d), as it does with all other Disputed Claims. Section 502(d) plainly

contemplates such a pause. See e.g., In re Cir. City Stores, Inc., 426 B.R. 560, 571 (Bankr. E.D.

Va. 2010) (holding that “§ 502(d) may be used to temporarily disallow the Claims filed under

§ 501(a) up to the amount of the alleged Preferential Transfers”); In re Sierra-Cal, 210 B.R. 168,

173 (Bankr. E.D. Cal. 1997) (“[W]hile actual adjudication of the avoidance status of the creditor

ultimately is necessary, the mere assertion of a prima facie § 502(d) defense is sufficient to place

the claim in a status in which it is neither allowed nor disallowed.”) (citing Katchen v. Landy,

382 U.S. 323, 330 (1966)). Indeed, bankruptcy courts often apply section 502(d) on an interim

basis to delay allowance of an alleged transferee’s claims that are subject to potential avoidance

actions. Harrison v. Konfino (In re A.N. Frieda Diamonds, Inc.), 616 B.R. 295, 321 (Bankr.

S.D.N.Y. 2020), aff’d, 633 B.R. 190 (S.D.N.Y. 2021) (“It is true that section 502(d) often is

applied on an interim basis to delay the allowance of a claim where the creditor is subject to a

potential avoidance action.”). Pausing allowance delays distribution on such claim, which

allows courts to adjudicate competing claims together and “ensure[s] that Claimants do not

receive windfalls to the detriment of other creditors.” Cir. City Stores, Inc., 426 B.R. at 571. If a

court could only delay allowance of a claim after conclusively finding a voidable transfer, then

debtors would be left in a situation where they potentially had to make distributions on claims

with no assurance that preference actions successfully adjudicated after plan confirmation would

be collectible, thus undermining the purpose of section 502(d). See Davis, 889 F.2d at 662-63




                                                -14-
            Case 22-11068-JTD         Doc 26039        Filed 09/30/24    Page 23 of 51




(finding that the “legislative history and purpose behind Section 502(d) to be assuring the

bankruptcy estate that a creditor will not be allowed to assert a claim without first paying his

own debts”).

                       The cases the LayerZero Group cites are inapposite. In both In re Lids

Corp., 260 B.R. 680 (Bankr. D. Del. 2001) and In re Ultimate Acquisition Partners, LP, 2012

WL 1556098 (Bankr. D. Del. May 1, 2012), the debtors were seeking full disallowance of the

claims by merely invoking section 502(d) of the Bankruptcy Code, not a temporary delay of

distributions to the holders of such claims until the preference actions were resolved. See

Ultimate Acquisition Partners, LP, 2012 WL 1556098 at *2 (“The Trustee’s Complaint also

seeks to disallow Mitsubishi's claim and 503(b)(9) administrative expense request pursuant

to section 502(d) of the Bankruptcy Code.” (emphasis added)); In re Lids Corp., 260 B.R. at 684

(“To disallow a claim under section 502(d) requires a judicial determination that a claimant is

liable.” (emphasis added)). Here the Plan simply provides that a Claim shall not become an

Allowed Claim if it remains subject to disallowance under section 502(d). (See Plan § 2.1.8.)

                       Moreover, the LayerZero Group merely asserts that some of their Claims

are liquidated and that their distribution is potentially being delayed due to alleged separate

preference claims. (LayerZero Obj. ¶¶ 45-46.) However, the liquidated status of the LayerZero

Group’s Claims is immaterial with regards to whether distributions can be delayed under section

502(d). Courts have recognized that where there is a pending avoidance action, the defendant’s

claims “continue to be disputed claims” and distribution to the defendant “is temporarily

prevented.” In re Enron Corp., 340 B.R. 180, 192 (Bankr. S.D.N.Y. 2006) (vacated on other

grounds). In such circumstances, a distribution to the avoidance action defendant would be

inefficient and could cause the needless transfer of funds between the debtor and the




                                                -15-
            Case 22-11068-JTD         Doc 26039        Filed 09/30/24    Page 24 of 51




claimant. See, e.g., id. at n.5 (“If a debtor were required to make a distribution to a claimant,

where a section 502(d) action were pending either by objection or by adversary proceeding, then

the debtor would have to seek disgorgement, among other relief, from such claimant if the debtor

were ultimately to prevail in the underlying avoidance action.”). Thus, whether the LayerZero

Group’s claims are liquidated or not, they may still be delayed while a section 502(d) claim is

pending.

III.   The Plan Does Not Seek to Disallow KYC-Deficient Claims.

                       Arceau 507 II LLC (“Arceau”) argues that the Plan contains certain

Know-Your-Customer (“KYC”) provisions that purportedly impermissibly seek to disallow

certain claims [D.I. 23148] (the “Arceau Objection”). Specifically, Arceau alleges that the Plan

permits the Debtors to treat a Customer Entitlement Claim as a “Disputed Claim” on the basis of

the original holder failing to adequately submit KYC information. (Arceau Obj. ¶ 1.)

                       Arceau’s objection is misplaced. In June 2023, the Court approved certain

procedures for collecting KYC information from holders of Customer Entitlement Claims. (See

Order (I)(A) Establishing Deadlines for Filing Customer Proofs of Claim, (B) Approving

Procedures for Submitting Proofs of Claim and (C) Approving the Form and Manner of Notice

Thereof and (II) Granting Related Relief [D.I. 1793] (the “Customer Bar Date Order”).) Under

the Customer Bar Date Order, claims without proper KYC information were deemed

“unverified” but not disallowed. (Customer Bar Date Order ¶ 18.) The Debtors certainly reserve

the right to object to these claims on the basis of inadequate KYC information or otherwise, and

Holders will then have an opportunity to respond.

                       Arceau’s stated concerns notwithstanding, its due process rights are

protected by the claims objection process under the Bankruptcy Code and Bankruptcy Rules.

The Debtors may seek a Court order addressing deficient KYC information and/or object to any


                                                -16-
            Case 22-11068-JTD         Doc 26039        Filed 09/30/24   Page 25 of 51




claim on the basis of deficient KYC information, at which point any claimant may file a response

and will be afforded the opportunity to exercise their “substantive or procedural rights with

respect to the allowance or disallowance of a claim.” (Arceau Obj. at 6.)

                       The Plan explains what is considered allowed—it does not purport to

determine someone’s KYC status and does not summarily disallow any Claim. All rights of

Arceau to contest any disallowance of its claims on this basis are reserved for such time, if ever,

that the Debtors actually seek to disallow its Claim. Accordingly, the Arceau Objection does not

raise any valid Plan objection and should be overruled.

IV.    The Plan Properly Classifies the Celsius Claims as General Unsecured Claims.

                       Mohsin Meghji, as the post-confirmation Litigation Administrator (the

“Celsius Litigation Administrator”) under the confirmed Chapter 11 plan for Celsius Network

LLC and its affiliated debtors (collectively, “Celsius”), filed an objection [D.I. 23147] (the

“Celsius Objection”) raising issues relating to Celsius’s unliquidated and disputed subsequent

transferee claims against the Debtors related to assets that 497 different Celsius customers (the

“Celsius Initial Transferees”) purportedly withdrew from their Celsius accounts and transferred

to accounts on the FTX Exchanges (the “Time-Barred Preference Claims”). The Debtors have

objected to the Time-Barred Preference Claims [see D.I. 19795, 24408], and that objection

remains pending and sub judice before the Court [see D.I. 24899].

                       Regardless, the Celsius Objection is meritless. Celsius objects to the

Plan’s classification of its Time-Barred Preference Claims as General Unsecured Claims rather

than Customer Entitlement Claims. (Celsius Obj. ¶¶ 2, 16-24.) But Celsius was not a customer

or account holder of the FTX Exchanges and has not asserted any claim arising from any

customer relationship it had with the FTX Exchanges. Rather, Celsius has filed claims and,

through its motion to lift the automatic stay, seeks to file a complaint against the Debtors


                                                -17-
            Case 22-11068-JTD         Doc 26039        Filed 09/30/24    Page 26 of 51




seeking to obtain a judgment establishing subsequent transferee liability against the Debtors.

[D.I. 16815]. That is a claim separate and apart from the liability currently owed to any FTX

Exchange customer who is a target of Celsius’s initial transferee claims. As a result, the separate

classification of claims held by FTX Exchange customers is entirely appropriate here. Celsius

also objects to the Debtors making any distributions pursuant to the Plan to Celsius Initial

Transferees that are otherwise entitled to such Plan distributions before the resolution of

Celsius’s preference claims against such parties. (Celsius Obj. ¶¶ 2, 25-36.) Celsius is not,

however, entitled to unilaterally restrict distributions to customers with Allowed Claims through

a back-door pre-judgment garnishment of such distributions simply by asserting the Time-Barred

Preference Claims against the Debtors.

       A.      Celsius Lacks Standing to Challenge the Elements of the Plan Implicated in
               Its Objection Because the Time-Barred Preference Claims Should Be
               Disallowed.

                       As fully briefed in relation to the Debtors’ Objection to Proofs of Claim

Filed By Celsius Network LLC and Its Affiliated Debtors [D.I. 19795] and the Debtors’ (I) Reply

to the Celsius Litigation Administrator’s Response to Debtors’ Objection to Proofs of Claim

Filed by Celsius Network LLC and its Affiliated Debtors; and (II) Initial Objection to Late-Filed

Proofs of Claim Filed by Celsius Network LLC and its Affiliated Debtors [D.I. 24408], and as

argued before the Court on September 12, 2024 [D.I. 24899], the Time-Barred Preference

Claims, along with all other claims purportedly asserted in Celsius’s proofs of claim filed in

these cases, should be disallowed with prejudice. Without any pending or valid claims against

the Debtors, Celsius lacks any standing to object to the Plan because its interest in these

proceedings is, at most, “purely derivative of another party’s rights,” specifically the rights of

any customers with Allowed Claims against which Celsius has asserted preference claims. See

Hsin-Chi Su v. Offshore Grp. Inv. Ltd. (In re Vantage Drilling Int’l), 603 B.R. 538, 545-46 (D.


                                                -18-
            Case 22-11068-JTD          Doc 26039        Filed 09/30/24    Page 27 of 51




Del. 2019) (quoting Krys v. Official Comm. of Unsecured Creditors (In re Refco, Inc.), 505 F.3d

109, 117 & n.10 (2d Cir. 2007)). The fact that Celsius has asserted initial transferee preference

claims against alleged FTX Exchange customers does not make Celsius a party in interest in

these proceedings. See, e.g., In re Lifeco Inv. Grp., Inc., 173 B.R. 478, 487 (Bankr. D. Del.

1994) (collecting cases and holding that there is “no statutory or judicial support to conclude that

a creditor of a creditor has standing in a bankruptcy case”). As a result, the Court need not reach

the merits of Celsius’s fatally flawed Plan objection if it sustains the Debtors’ objection to

Celsius’s Time-Barred Preference Claims.

       B.      The Plan Properly Classifies the Celsius Claims.

                       To the extent not disallowed as requested by the Debtors, Celsius’s

argument that its Time-Barred Preference Claims have not been properly classified is factually

baseless and legally meritless. (Celsius Obj. ¶¶ 2, 16-24.) Celsius does not argue that it has any

direct right to participate in the Customer Priority Settlement, nor could it. Celsius does not have

any claim to Exchange Assets based on any disputed property rights that form the basis for the

special treatment that Customer Entitlement Claims will receive pursuant to the Customer

Priority Settlement. Yet Celsius asks that its Time-Barred Preference Claims be classified as

Customer Entitlement Claims rather than General Unsecured Claims so that it can try to extract

more value from the Debtors’ estates at the expense of other creditors. (Id. ¶¶ 2, 16-24.) This is

wrong; nothing in the Bankruptcy Code compels such an inequitable result.

                       Under 11 U.S.C. § 1122(a), “a plan may place a claim or an interest in a

particular class only if such claim or interest is substantially similar to the other claims or

interests of such class.” But the “[t]he Bankruptcy Code does not require that all similar claims

be placed in one class.” In re Capmark Fin. Grp. Inc., 2011 WL 6013718, at *21 (Bankr. D.

Del. Aug. 24, 2011). Rather, where claims or interests within each class are “substantially


                                                 -19-
            Case 22-11068-JTD         Doc 26039        Filed 09/30/24   Page 28 of 51




similar” to the other claims or interests in the class, a Debtor need only have “a legitimate

business reason to classify” claims as it sees fit. See In re Mallinckrodt PLC, 639 B.R. 837, 857

(Bankr. D. Del. 2022) (citing In re Boston Post Rd. Ltd. P’ship, 21 F.3d 477, 483 (2d Cir. 1994)).

                       Celsius does not challenge how the Plan generally distinguishes between

Customer Entitlement Claims and General Unsecured Claims. (Celsius Obj. ¶¶ 19-20.) Indeed,

it cannot because the Plan is wholly consistent with Third Circuit law. See Matter of Jersey City

Med. Ctr., 817 F.2d 1055, 1061 (3d Cir. 1987) (finding that it was “immediately” reasonable to

distinguish between multiple classes of general unsecured creditors with “similar” claims).

                       Rather, Celsius argues that it is “arbitrary” to classify its Time-Barred

Preference Claims as General Unsecured Claims, rather than Customer Entitlement Claims,

because its “rights” “originate from the same basis” as Customer Claims. (Celsius Obj. ¶¶ 18-

20.) This is nonsensical. The disputed statutory “rights” asserted by Celsius through its Time-

Barred Preference Claims are completely different from the disputed property rights that could

be asserted by FTX Exchange customers, which are being addressed through the Customer

Priority Settlement. Celsius’s Time-Barred Preference Claims are litigation claims asserted

against the Debtors arising under section 550 of the Bankruptcy Code. (Id. ¶ 15.) They are not

the same claims that FTX Exchange customers could assert based on purported property rights as

to assets on the FTX Exchanges. (See Confirmation Brief, Argument § II.C); see also Vantage

Drilling, 603 B.R. at 547 (“[A]sserting a claim for monetary damages does not give a plaintiff a

property interest in defendant’s assets.”).) There is nothing “discriminatory” about

acknowledging this obvious difference (Celsius Obj. ¶ 21) because there is a “legitimate business

reason” to acknowledge it: the need to resolve disputes with customers as to ownership of

Exchange Assets. See Mallinckrodt, 639 B.R. at 857.




                                                -20-
               Case 22-11068-JTD           Doc 26039         Filed 09/30/24       Page 29 of 51




                          Indeed, Celsius itself adopted a similar distinction in its own confirmed

and consummated chapter 11 plan, which distinguished between and separately classified claims

held by an account holder for assets held in a “Celsius Account” (classified as “Account Holder

Claims”) from all other unsecured claims, 4 including any claims for damages relating to or

arising from any Celsius Account (with such claims specifically classified as “General

Unsecured Claims”). 5 Importantly, Celsius’s plan made clear that “Claims for damages or other

Unsecured Claims on account of Former Celsius Accounts,” which would include avoidance

action claims relating to Celsius Accounts, were General Unsecured Claims and not Account

Holder Claims. 6 For Celsius to take the diametrically opposite position with respect to the

Debtors’ classification is disingenuous at best and should be rejected.

          C.     The Plan’s Distribution Procedures Are Proper.

                          The Celsius Litigation Administrator further argues that the Plan cannot be

confirmed because “it diverts funds” to FTX customers who (allegedly) “are not the rightful

claimants of the funds.” (Celsius Obj. ¶ 29.) The Celsius Litigation Administrator’s solution is

to expand the definition of “Disputed Claims” in Section 8.5 of the Plan to include Customer

Entitlement Claims which are subject to the Time-Barred Preference Claims, to force the Debtors

to withhold distributions until both Celsius’s Time-Barred Preference Claims (that are not

properly pending) and the claims against the Celsius Initial Transferees (pending in another


4
    The separate classification in Celsius was based on a series of settlements between various “Account Holders”
    and Celsius—including a class action settlement which resulted in certain “Account Holder Claims” receiving
    enhanced payments. (See Modified Joint Chapter 11 Plan of Reorganization of Celsius Network LLC and its
    Debtor Affiliates, In re Celsius Network LLC, No. 22-10964 (Bankr. S.D.N.Y. Sept. 27, 2023), ECF No. 3577
    at 7 (defining a class based on a settlement with holders of claims based on Celsius “Custody” accounts); 25
    (defining a class based on a settlement with holders of claims based on Celsius “Withhold” accounts).)
5
    Id. at 12 (“For the avoidance of doubt, no Account Holder Claims shall be General Unsecured Claims, but
    Claims for damages or other Unsecured Claims on account of Former Celsius Accounts shall be General
    Unsecured Claims.”).
6
    Id.



                                                      -21-
             Case 22-11068-JTD               Doc 26039          Filed 09/30/24        Page 30 of 51




court) are resolved. (Id. ¶¶ 35-36.) There is no basis to impose such a requirement through the

Plan.

                           In essence, the Celsius Litigation Administrator wants to force the Debtors

to withhold distributions to as many as 497 different FTX Exchange customers for an indefinite

period of time based on preference claims against those customers that the Celsius Litigation

Administrator has not reduced to judgment and may never reduce to judgment. If the Court

permits Celsius to assert the Time-Barred Preference Claims, the Debtors will need to consider

them, like all Disputed Claims, in sizing the Disputed Claims Reserve. But there is no basis for

the Celsius Administrator to dictate how or when the Debtors make Distributions on Allowed

Claims to the Debtors’ own creditors based on claims asserted in another court on which Celsius

has not obtained any judgment, and Celsius cites no case or other authority that would so permit.

                           Although Celsius attempts to justify its arguments by invoking irrelevant

principles of interpleader (id. ¶ 31), well-established law with respect to similar efforts to garnish

distributions to creditors makes clear that Celsius is just a “parasite upon the[se] bankruptcy

proceedings” that “should not be tolerated.” In re Am. Elec. Tel. Co., 211 F. 88, 91 (7th Cir.

1914).

                           Although Celsius has failed to comply with any applicable state law

procedures to obtain such a remedy, Celsius is seeking a pre-judgment garnishment of payments

that would be owed to FTX Exchange customers with Allowed Claims. 7 But settled precedent

dictates that “[a] bankruptcy trustee should not be subject to a pre-judgment garnishment which

would unnecessarily complicate and delay the efficient administration of a bankruptcy estate.”


7
    See, e.g., Garnishment Definition, Black’s Law Dictionary (12th Ed. 2024) (defining a “garnishment” as “[a]
    judicial proceeding in which a creditor (or potential creditor) asks the court to order a third party who is
    indebted to or is bailee for the debtor to turn over to the creditor any of the debtor’s property (such as wages or
    bank accounts) held by that third party.”)



                                                         -22-
            Case 22-11068-JTD          Doc 26039        Filed 09/30/24    Page 31 of 51




In re Brickell, 292 B.R. 705, 709 (Bankr. S.D. Fla. 2003), aff’d 142 F. App’x 385 (11th Cir.

2005). Indeed, bankruptcy courts generally avoid entertaining even procedurally proper requests

for pre-judgment garnishments because they burden courts and debtors by turning Chapter 11

proceedings into a “collection forum for third-party claims against creditors.” See In re Logan,

2010 WL 1286651, at *2 (Bankr. E.D. Va. Mar. 29, 2010).

                       The Celsius Litigation Administrator admits that, through his proposals to

amend the Plan, he seeks to delay the administration of these Chapter 11 cases by ensuring that

“distributions are not directed to Celsius-FTX Customers absent resolution of the Customer

Preference Actions” (i.e. the Time-Barred Preference Claims). (Celsius Obj. ¶ 35 (emphasis

added).) The Celsius Litigation Administrator is asking this Court to force the Plan to be

amended to prevent the payment to Customers who are alleged to be Celsius Initial Transferees

until preference claims relating to transfers to almost 500 different parties are fully litigated.

This is precisely the kind of delay from pre-judgment remedies that courts have held is

intolerable. See, e.g., In re Berman & Co., 378 F.2d 252, 256-56 (6th Cir. 1967) (holding that

the district court erred by permitting an attachment because it delayed closure of the case by

“nearly two years”). Thus, the Celsius Litigation Administrator’s objection should be overruled.

V.     The Plan Adequately Preserves Parties’ Rights With Respect to a Disputed Claims
       Reserve.

                       Russell Crumpler and Christopher Farmer, in their joint capacities as the

duly authorized joint liquidators appointed in the British Virgin Islands’ liquidation of Three

Arrows Capital, Ltd. (in liquidation) (the “3AC Liquidators”) have objected to the Plan ([D.I.

23146], the “3AC Objection”), along with the Celsius Litigation Administrator, on the basis that

it fails to provide an adequate claims reserve. (3AC Obj. ¶ 16; Celsius Obj. ¶ 32.) The 3AC

Liquidators argue that any reserve should “include[] an amount sufficient to pay the 3AC



                                                 -23-
            Case 22-11068-JTD         Doc 26039        Filed 09/30/24    Page 32 of 51




Claims” (3AC Obj. ¶ 23), while the Celsius Litigation Administrator argues that the definition of

Disputed Claims Reserve in the Plan should be modified to include “Customer Entitlement

Claims subject to the Customer Preference Actions.” (Celsius Obj. ¶ 35.)

                       At bottom, each of these objections allege that the Disputed Claims

Reserve provision in the Plan should be enlarged to specifically address their Disputed Claims.

But these objections are misplaced, and do not provide any legitimate basis to delay confirmation

of the Plan. The establishment and size of the Disputed Claims Reserve contemplated by the

Plan will be subject to a separate motion before this Court, and the 3AC Liquidators’ and Celsius

Litigation Administrator’s rights to object to that motion and the Debtors’ Disputed Claims

Reserve are fully preserved. The Plan’s Disputed Claims Reserve provision—which does not

itself purport to establish a reserve or the size of any reserve—does not contravene any of the

requirements of the Bankruptcy Code, and accordingly, these objections should be overruled.

       A.      The Disputed Claims Reserve Provision in the Plan Complies with Section
               1123(a)(4) of the Bankruptcy Code.

                       The 3AC Liquidators allege that the Plan violates section 1123(a)(4) of the

Bankruptcy Code because the Plan does not expressly commit to the establishment and funding

of a Disputed Claims Reserve. (3AC Obj. ¶ 17.)

                       Section 1123(a)(4) of the Bankruptcy Code requires a Plan “provide the

same treatment for each claim or interest of a particular class, unless the holder of a particular

claim or interest agrees to a less favorable treatment of such particular claim or interest.” (See 11

U.S.C. § 1123(a)(4).) While section 1123(a)(4), and the Bankruptcy Code generally, does not

impose a requirement to establish a disputed claims reserve, case law generally requires that

reserves be established for holders of disputed claims. See, e.g., In re Motors Liquidation Co.,

447 B.R. 198, 217 n.50 (Bankr. S.D.N.Y. 2011) (“The Code itself does not impose either



                                                -24-
             Case 22-11068-JTD         Doc 26039        Filed 09/30/24   Page 33 of 51




requirement, though without creating reserves of some kind, I have some difficulty seeing how

one could provide the statutorily required equal treatment when dealing with the need to make

later distributions on disputed claims that ultimately turn out to be allowed, especially in cases,

like this one, with a liquidating plan.”).

                        The Plan requires the Plan Administrator to establish a Disputed Claims

Reserve “if necessary.” (Plan § 8.5.) There is no ambiguity with respect to this provision. (3AC

Obj. ¶ 16.) The Plan is clear with respect to the circumstances in which the Plan Administrator

will establish a claims reserve, and section 1123(a)(4) of the Bankruptcy Code is accordingly

satisfied. Given the sheer number and size of Disputed Claims in these Chapter 11 Cases, the

Debtors will be establishing a Disputed Claims Reserve, and will do so by motion noticed

appropriately to affected parties-in-interest.

                        The Plan’s Disputed Claims Reserve provision is nonetheless consistent

with other plans of reorganization approved by this Court, which also allow for discretion in the

establishment and sizing of such a reserve at a later date. See, e.g., In re Carbonlite Holdings

LLC, Case No. 21-10527 (JTD) (Bankr. D. Del. Sept. 7, 2021) [D.I. 895] (establishing a disputed

claims reserve without committing to any sort of sizing); In re Lighthouse Res. Inc., Case No.

20-13056 (JTD) (Bankr. D. Del. Mar. 10, 2021) [D.I. 435] (same); In re Global Eagle

Entertainment Inc., Case No. 20-11835 (JTD) (Bankr. D. Del. Jan. 29, 2021) [D.I. 753]

(confirming the establishment of a disputed claims reserve only “to the extent necessary”).

        B.      The Plan’s Definition of “Disputed Claims” Is Proper.

                        The Celsius Litigation Administrator seeks to improperly rewrite the

Plan’s definition of “Disputed Claims” to include an express reservation of funds on account of

its purported “competing claim” to the funds to be distributed to the FTX-Celsius Customers (as




                                                 -25-
              Case 22-11068-JTD       Doc 26039        Filed 09/30/24   Page 34 of 51




defined in the Celsius Objection) on account of their Customer Entitlement Claims. (Celsius

Obj. ¶ 35.)

                       Even assuming arguendo that the Celsius Litigation Administrator holds a

valid and “competing” entitlement to these funds— a gating question pending before the Court—

the Debtors still would not be required to expand the Plan’s definition of “Disputed Claims.”

The Debtors have considerable discretion in describing any claims reserve in the Plan, and the

Plan Administrator at this stage is not required to commit to reserving against any of the Celsius

Litigation Administrator’s claims. See In re Trib. Co., 476 B.R. 843, 865 (Bankr. D. Del. 2012)

(not requiring a reserve for subordinated unsecured creditors where their claims were at an early

stage of litigation); In re Motors Liquidation Co., 447 B.R. 198, 216 (Bankr. S.D.N.Y. 2011)

(finding it unreasonable to require the debtors to establish a segregated reserve for certain

disputed claims, in addition to an already established general disputed claims reserve); Hr’g Tr.

at 38:15-40:2, In re Southland Royalty Company, LLC, Case No. 20-10158 (KBO) (Bankr. D.

Del. May 20, 2021) (requiring a reserve for specific claims only where disputed claims were

likely to be successful and potentially irreparable harm would occur absent a reserve if the

disputed claims were successful).

                       Ultimately, as described above, given the magnitude of claims filed in

these Chapter 11 Cases and the fact that claims reconciliation will certainly still be ongoing at

the time of emergence, it will be necessary for the Plan Administrator to establish a Disputed

Claims Reserve. The establishment and size of such a reserve will be subject to a separate

motion to be filed with this Court, and the 3AC Liquidators’ and Celsius Litigation

Administrator’s rights to object to such motion are fully preserved.




                                                -26-
            Case 22-11068-JTD         Doc 26039          Filed 09/30/24   Page 35 of 51




VI.    The Plan’s Voluntary Releases Are Consensual and Should Be Approved.

                       The United States Trustee (the “U.S. Trustee”), Ahmed Abd El-Razek,

Sunil Kavuri, and Pat Rabbitte (the “Kavuri Parties”), and Seth Melamed each object to the

confirmation of the Plan on the basis that the releases provided for in Section 10.4 of the Plan

(the “Voluntary Release”) are purportedly non-consensual. ([D.I. 23610] the “UST Objection”

and [D.I. 23162] the “Kavuri Objection,” respectively.) These parties rely on Purdue, 144 S. Ct.

2071, to argue that “the prohibition on nonconsensual third-party releases in Purdue requires this

Court to evaluate whether this Plan’s releases are consensual under contract law.” (UST Obj.

¶ 45; Kavuri Obj. ¶ 19.) Each objector argues that the Voluntary Release is “non-consensual.”

(UST Obj. ¶¶ 41-62; Kavuri Obj. ¶¶ 18-19.) This is contrary to the holdings of this Court and

the law of this circuit, even following Purdue.

                       The Supreme Court cautioned that nothing in Purdue “should be construed

to call into question consensual third-party releases.” Purdue, 144 S. Ct. at 2087-88. Yet, that is

exactly what the U.S. Trustee and the Kavuri Parties seek to have this Court do. To the contrary,

courts have expressly approved opt-out releases—such as the one included in the Plan—as

permissible consensual releases both before and after Purdue.

                       Prior to Purdue, as the U.S. Trustee acknowledges (UST Obj. ¶ 45 n.6),

courts in this circuit have consistently held that Chapter 11 plans may provide consensual third-

party releases, including where such releases, as here, utilize an opt-out structure and are

obtained through the balloting process. See, e.g., In re Mallinckrodt PLC, 639 B.R. 837, 879-80

(Bankr. D. Del. 2022) (approving certain third party releases as consensual because, among other

things, the releases were conspicuously disclosed and releasing parties were given an opportunity

to opt out); Dec. 22, 2020 Hr’g Tr. at 80-81, In re Extraction Oil & Gas, Inc., Case No. 20-

11548 (CSS) (Bankr. D. Del. Dec. 28, 2020) [D.I. 1534] (“[v]ery importantly, these are


                                                  -27-
              Case 22-11068-JTD        Doc 26039         Filed 09/30/24    Page 36 of 51




consensual releases, these are not nonconsensual releases. I have repeatedly ruled that you can

imply consent by failing to opt out or respond to a plan, either through a ballot or on the docket,

that calls for a release.”); In re Chaparral Energy Inc., Case No. 20-11947 (MFW) (Bankr. D.

Del. Oct. 1, 2020) [D.I. 237] (confirming plan that permitted holders of claims that voted to

reject or abstained from voting to check a box on ballot opting out of third-party releases); In re

Skillsoft Corporation, Case No. 20-11532 (MFW) (Bankr. D. Del. Aug. 6, 2020) [D.I. 274]

(same); June 13, 2019 Hr’g Tr. 48:9-11, In re Z Gallerie, LLC, Case No. 19-10488 (LSS)

(Bankr. D. Del. June 14, 2019) [D.I. 384] (“With respect to third-party releases I’m prepared to

find that they are consensual because of the opt-out box in the ballots.”).

                        Furthermore, since the Purdue decision was issued, at least one court has

specifically considered and overruled a similar objection. In In re Robertshaw US Holding

Corp., 2024 WL 3897812 (Bankr. S.D. Tex. Aug. 16, 2024), the court considered a U.S.

Trustee’s objection to a plan which contained an opt-out mechanism for releases, and found such

releases to be consensual. The court held that “[c]ontrary to the Trustee’s position … [t]here is

nothing improper with an opt-out feature for consensual third-party releases in a chapter 11

plan.” Id. at *17. As is the case here, in Robertshaw:

                Parties in interest were provided detailed notice about the Plan, the deadline
                to object to plan confirmation, the voting deadline, and the opportunity to
                opt out of the third-party releases. The Disclosure Statement included a
                detailed description about the third-party releases and the opt-out . . . ballots
                were sent to holders of Claims in voting classes. . . . All ballots provided
                claimants an opportunity to opt out. Non-voting parties . . . received a Notice
                of Non-Voting Status that offered a chance to opt out too. The ballots and
                the Notice of Non-Voting Status allowed parties to carefully review and
                consider the terms of the third party release and the consequences of
                electing not to opt-out.

Id. at *18.




                                                  -28-
            Case 22-11068-JTD         Doc 26039        Filed 09/30/24    Page 37 of 51




                       Other courts in this circuit have also confirmed plans containing opt-out

mechanisms for third-party releases since Purdue. See, e.g., In re Invitae Corp., Case No. 24-

11362 (MBK) (Bankr. D.N.J. July 20, 2024) [D.I. 858] (confirming plan with opt-out release); In

re Bowflex Inc., Case No. 24-12364 (ABA) (Bankr. D.N.J. Aug. 19, 2024) [D.I. 614] (same).

                       This Court considered the permissibility of opt-out consent in In re

Mallinckrodt and held that “the notion that an individual or entity is in some instances deemed to

consent to something by their failure to act is one that is utilized throughout the judicial system

. . . [and t]here is no reason why this principle should not be applied in the same manner to

properly noticed releases within a plan of reorganization.” 639 B.R. at 879. Even non-voting

holders of claims may be deemed to have consensually released claims pursuant to an opt-out

mechanism if the notices were widely published electronically and in major news sources,

clearly emphasized the relevant sections, and were part of a very well-known case. Id. at 879-81.

                       Courts determine that third-party releases are consensual when adequate

notice has been provided to stakeholders by, for example, bolding the language describing the

third-party releases in the plan and disclosure statement and including language on the applicable

ballot and election form explaining the opt out mechanism. See, e.g., In re Indianapolis Downs,

LLC, 486 B.R. 286, 306 (Bankr. D. Del. 2013) (“As for those impaired creditors who abstained

from voting on the Plan, or who voted to reject the Plan and did not otherwise opt out of the

releases, the record reflects these parties were provided detailed instructions on how to opt out,

and had the opportunity to do so by marking their ballots. Under these circumstances, the Third

Party Releases may be properly characterized as consensual and will be approved.”).

                       The Debtors submit that the Voluntary Release is consensual and

consistent with the law in this circuit. The ballots as approved by this Court and distributed to




                                                -29-
              Case 22-11068-JTD       Doc 26039        Filed 09/30/24    Page 38 of 51




Holders entitled to vote on the Plan (in Class 3A, Class 5A, Class 5B, Class 6A, Class 6B,

Class 7A, Class 7B, Class 7C, Class 8B, Class 8C, Class 10B, Class 10C, and Class 12) and the

election forms distributed to holders entitled to opt out of the Voluntary Release (in Class 1,

Class 2, Class 3B, Class 4, Class 5C and Class 8A) quoted the entirety of the release that would

be given in bold and clearly informed holders of the implications they should grant the release.

In each case, the ballots and election forms distributed to Holders entitled to opt out of the

Voluntary Release contained boxed text in prominent format, informing recipients that “[they]

will be deemed to have granted the [third-party releases] unless [they] affirmatively opt out and

submit the election form with [their] election to the solicitation agent prior to the voting

deadline.”

                       Furthermore, the Debtors ensured that the Voluntary Release is in fact

voluntary for those Classes not entitled to vote and deemed to reject the Plan (Class 13, Class 14,

Class 15, Class 16, Class 17 and Class 18) by requiring Holders in those Classes to opt-in to the

Voluntary Releases in order to be bound.

                       In addition, much like in Mallinckrodt, these Chapter 11 Cases are high-

profile cases, involving a very active body of creditors and stakeholders. As this Court is well

aware, the issues involved have garnered significant public interest and have been regularly

reported on in a variety of publications around the world. Additionally, the Debtors caused

notice to be published broadly in national and international publications, including The New York

Times and Coindesk.com, each of which prominently displayed the entirety of the release

provisions.

                       The Voluntary Release is an important part of the implementation of the

Plan – but no broader than the circumstances warrant. The beneficiaries of the Voluntary




                                                -30-
            Case 22-11068-JTD         Doc 26039        Filed 09/30/24    Page 39 of 51




Release are third party professional advisors, the JOLs and the FTX Digital Markets, all of

whom participated constructively in the development of the Plan and the progression of the

Chapter 11 Cases towards a successful conclusion. To eliminate the Voluntary Release for this

type of case participant would discourage similarly situated parties from participating in other

cases in the future. Additionally, the Voluntary Release is extraordinarily narrow and focused

only on the legitimate purpose of facilitating participation in the Chapter 11 Cases by these

identified parties. The Voluntary Release does not provide a release of any Cause of Action to

the extent arising out of conduct that occurred prior to the Petition Date or against any Control

Person or other Excluded Party. It also, even in its narrow scope, carves-out acts or omissions

that constitute gross negligence, willful misconduct, fraud, or criminal acts. (See Plan

§ 10.7.) As a result, the narrowly tailored Voluntary Release here is distinguishable from the

general releases provided in many plans and certainly does not provide a blanket immunity.

Therefore, the Debtors submit that the Voluntary Release is fair, equitable, and reasonable and in

the best interests of the Debtors and all holders of claims and interests.

                       The U.S. Trustee and the Kavuri Parties each cite In re Chassix Holdings

Inc., 533 B.R. 64 (Bankr. S.D.N.Y. 2015), for the proposition that the Plan’s releases are not

permitted. (UST Obj. ¶ 51; Kavuri Obj. ¶ 18.) Aside from the fact that it is not binding

precedent in this circuit, Chassix stands for no such proposition. In articulating why a plan’s

release provisions must be limited to those who voted to accept the Plan, or affirmatively opted-

in, the Chassix court expressly acknowledged that “circumstances may justify a different

approach in different cases.” Chassix, 533 B.R. at 79.

                       In these Chapter 11 Cases, the Voluntary Releases are narrow in scope and

Holders of Claims and Interests are expected to recover over 100% of the value of their claims,




                                                -31-
            Case 22-11068-JTD         Doc 26039        Filed 09/30/24    Page 40 of 51




whereas in Chassix the “relatively small recoveries . . . could easily have prompted an even

higher-than-usual degree of inattentiveness or inaction.” Id. at 80. As the more recent LATAM

Airlines Grp. S.A. decision makes clear, the “projected meager recoveries” in Chassix made it

“likely that unsecured creditors did not focus on the fact that the plan called for them to take

action not to grant the non-debtor releases,” and distinguished situations where, as here, releasing

parties are “receiving exponentially greater recovery” than in Chassix. In re LATAM Airlines

Grp. SA, 2022 WL 2206829, at *46 n.88 (Bankr. S.D.N.Y. June 18, 2022).

                       Judge Goldblatt recently issued a decision in In re Smallhold, Inc., relying,

in part, on the reasoning in Chassix to conclude that consensual third-party releases require some

level of affirmative step to indicate consent, such as returning a ballot. 2024 WL 4296938, at

*45-48 (Bankr. D. Del. Sept. 25, 2024). This decision, which is not binding on this Court, is

both inconsistent with Purdue itself and distinguishable on the facts. Here, notice of the

Voluntary Releases was widely disseminated to millions of creditors both via direct mailing and

through publication notice approved by this Court (including in The New York Times and

Coindesk.com). The notice in Smallhold, by contrast, involved “a form of notice of the

confirmation hearing that would be sent to all creditors.” Id. at *4.

                       Additionally, Judge Goldblatt expressly declined to address a situation

where the plan process builds in the protections of the class action mechanism under Rule

23(b)(3). Id. at *15. Given the extensive negotiations with many constituencies, the extensive

notice providing creditors “the opportunity to opt out,” id., and the unprecedented publicity for

and attention to these proceedings, the process used here is akin to those used in class action




                                                -32-
             Case 22-11068-JTD               Doc 26039          Filed 09/30/24         Page 41 of 51




cases under Rule 23 of the Federal Rules of Civil Procedure. 8 Any suggestion that more

affirmative consent is necessary in these Chapter 11 Cases than was provided is wrong.

                           Accordingly, the Debtors respectfully submit that the Voluntary Releases

contained in the Plan are consensual and are in the best interests of the Debtors and its

stakeholders. The U.S. Trustee and Kavuri Parties’ objections should be overruled.

VII.    The Plan Does Not Extinguish ELD Capital LLC’s Fraud Claims without their
        Consent.

                           ELD Capital LLC (“ELD”) has objected to the Plan [D.I. 23140] (the

“ELD Objection”) to express concern that its claims asserted in proofs of claim numbers 91933

and 96369 (the “ELD Claims”) for prepetition fraud will be extinguished through the Plan.

(ELD Obj. at 1.) Although the Debtors disagree with ELD’s substantive assertions that are the

subject of a pending claims objection, for the avoidance of doubt, the ELD Claims will be

resolved through the claims allowance process and are not extinguished by the plain language of

the Plan. All parties’ rights, defenses and objections with respect to the ELD Claims are

reserved.

VIII. The Remaining Objections Should Be Overruled.

        A.        In Kind Distributions Are Not Required Under the Bankruptcy Code.

                           The Kavuri Parties baldly assert that the Plan should provide for “in kind”

distributions. (Kavuri Obj. ¶¶ 39-41.) This argument falls flat because it fails to assert any legal

basis for not distributing cryptocurrency to creditors as rendering the Plan unconfirmable. The

Kavuri Parties suggest that “the Debtors’ refusal to even engage a distribution agent who could

make distributions ‘in kind’ to customers reflects utter disregard to maximize recoveries to


8
    The Smallhold court also did not expressly address the propriety of a release as to creditors who were solicited
    and received a ballot but failed to vote, nor address a situation where creditors are “paid in full.” Id. at *3, 5,
    14.



                                                         -33-
            Case 22-11068-JTD         Doc 26039        Filed 09/30/24    Page 42 of 51




creditors.” (Kavuri Obj. ¶ 41.) This baseless assertion is belied by the entire record of these

Chapter 11 Cases, which is replete with the Debtors’ efforts to maximize the value of their assets

for creditors that has resulted in projections of customer and other non-governmental creditor

Claims being paid in full plus interest.

                       The Plan contemplates Cash Distributions (as defined in the Plan). As has

been well-documented in these Chapter 11 Cases, the Debtors were never in a position to make

in-kind distributions to creditors because there was a massive shortfall of Digital Assets held on

the Petition Date compared to customer liabilities. (See Mosley Decl. ¶ 67.) The Debtors have

taken great steps to avoid the volatile market fluctuations and other risks inherent in speculating

in Digital Assets during the pendency of these Chapter 11 Cases. If individual creditors wish to

convert their Cash Distributions to other currencies or Digital Assets, those creditors should bear

the risks of doing so. This objection should be overruled.

       B.      The Plan is a Permissible 9019 Settlement.

                       The U.S. Trustee asserts that section 5.2 of the Plan impermissibly

“purports to treat the Plan itself as if it were a Rule 9019 ‘settlement.’” (UST Obj. ¶ 71.) The

U.S. Trustee cites no authority to support the proposition that a Plan cannot also be deemed a

settlement pursuant to Bankruptcy Rule 9019, and several plans approved by this Court contain

almost identical language to section 5.2 of the Plan. See, e.g., In re Mallinckrodt PLC, Case No.

20-12522 (JTD) (Bankr. D. Del. Feb. 18, 2022) [D.I. 6510]; In re SiO2 Medical Products, Inc.,

Case No. 23-10366 (JTD) (Bankr. D. Del. July 17, 2023) [D.I. 466]; In re Global Eagle

Entertainment, Case No. 20-11835 (JTD) (Bankr. D. Del. Jan. 29, 2021) [D.I. 753].

                       There is no reason why a plan may not be used as a vehicle for

effectuating a global settlement of claims and interests, so long as it is complies with all

applicable bankruptcy rules. The U.S. Trustee tacitly acknowledges this point, noting that “[a]


                                                -34-
            Case 22-11068-JTD         Doc 26039        Filed 09/30/24    Page 43 of 51




plan may incorporate one or more negotiated settlements” (UST Obj. ¶ 68.) The Plan here

complies with all applicable bankruptcy rules pertaining to settlements, including, as detailed in

the Confirmation Brief (Argument §§ II.C-D), Bankruptcy Rule 9019 with respect to the

Customer Priority Settlement and the Customer Preference Settlement because each satisfies the

applicable Martin factors and is in the best interests of the Debtors, their creditors, and other

stakeholders.

                       The single case cited by the U.S. Trustee, Varela v. Dynamic Brokers, Inc.

(In re Dynamic Brokers, Inc.), 293 B.R. 489, 496 (B.A.P. 9th Cir. 2003) is completely irrelevant.

(UST Obj. ¶ 66.) In Dynamic Brokers, a debtor sought to modify the amount of a claim in a

proposed plan instead of objecting to the amount of the claim in accordance with Bankruptcy

Rule 3007. 293 B.R. at 496-497. The court sustained the objections of the claimant, noting that

the debtor needed to file a formal claims objection in respect of such claim because section

1123(b)(5) of the Bankruptcy Code does not authorize a debtor to unilaterally seek to modify

claims in a Chapter 11 plan. See id. This has nothing to do with the U.S. Trustee’s objection.

The Debtors are not attempting to circumvent any requirement imposed by the Bankruptcy Code

or the Bankruptcy Rules. As detailed in the Confirmation Brief (Argument § II), the Debtors

satisfy both section 1123(b) of the Bankruptcy Code and Bankruptcy Rule 9019. Accordingly,

the U.S. Trustee’s objection should be overruled.

       C.       The Plan Provides Fair Treatment to the Convenience Classes.

                       The U.S. Trustee next asks the Court to “deny confirmation because the

Debtors have not shown that the Plan treats all creditors fairly.” (UST Obj. ¶ 77.) Specifically,

the U.S. Trustee argues that the Supplemental Remission Fund must be made available to

Holders of Dotcom and US Convenience Claims, and the Debtors fail to demonstrate how




                                                -35-
            Case 22-11068-JTD          Doc 26039       Filed 09/30/24   Page 44 of 51




excluding such classes from the Supplemental Remission Fund is reasonable. (UST Obj. ¶ 80.)

This objection makes no sense.

                       First, and foremost, the Holders of Dotcom Convenience Claims and U.S.

Convenience Claims voted overwhelmingly in support of the Plan. As detailed in the Voting

Report included in the Daloia Declaration, filed contemporaneously herewith, more than 95% in

number and amount of voting Holders in Class 7A and Class 7B voted to accept the Plan. And

not one single Holder of a Dotcom Convenience Claim or a U.S. Convenience Claim filed an

objection to their Claims treatment under the Plan. The purpose of the Plan process is to permit

the economic stakeholders to voice their opinions on the Plan, and here they have done so with

their support.

                       Second, this result is unsurprising because the treatment of Class 7A and

Class 7B claims is very favorable to the creditors who hold those Claims. Holders of Allowed

Claims in the convenience classes will receive payment of 100% of such Allowed Claim plus

postpetition interest at the Consensus Rate on the Initial Distribution Date. (Plan § 4.3.11-12.)

The benefits of being paid in full on the Initial Distribution Date and not having to wait for

subsequent distributions as assets become available are immense. These creditors also bear no

risk that the Debtors will be unable to pay claims in full over time because they are paid as a

priority on the Initial Distribution Date.

                       The purpose of the Supplemental Remission Fund in large part is to

compensate certain customers for the time value of their money and the related investment losses

they may have suffered as a result of having their digital assets and fiat currency locked on the

FTX Exchanges. The Debtors will not be in a position to distribute all of their assets on the

Initial Distribution Date (due to the need to maintain a Disputed Claims Reserve, reconcile and




                                                -36-
            Case 22-11068-JTD        Doc 26039        Filed 09/30/24   Page 45 of 51




resolve Claims, pursue litigation claims, and monetize assets, among other reasons), meaning

that other creditors will have their Allowed Claims paid out over time.

                      As detailed in Section 1.F of the Disclosure Statement, to compensate for

this additional holding period, the Debtors, with the cooperation of certain subordinated

governmental creditors, have agreed to facilitate a supplemental remission pool of assets.

Naturally, convenience class claimants, who each will receive a distribution on the Initial

Distribution Date, will not receive the additional payments associated with this delay, because

they will have received the entire amount of their claims on the Initial Distribution Date and can

re-deploy such funds as they wish. There is also no assurance there will be assets sufficient to

make distributions on account of Class 10B Senior Subordinated Governmental Claims that will

flow to the Supplemental Remission Fund. The economic effect of receiving a full distribution

on the Initial Distribution Date compared with delayed distributions plus some uncertain

supplemental recovery in the future is comparable. Accordingly, the U.S. Trustee’s objection is

unfounded and should be overruled.

       D.      The Information Provided in the Plan Administration Agreement and
               Liquidating Trust Agreement is Sufficient.

                      The Kavuri Parties allege that the Plan Administration Agreement and

Liquidating Trust Agreement fail to disclose adequate information with respect to the

compensation of the Plan Administrator and the Wind Down Trust board members and assert

that additional disclosure regarding compensation should “inform whether the Plan satisfies the

best interests of creditors under section 1129(a)(7).” (Kavuri Obj. ¶ 44.) This objection is

misplaced. Section 1129(a)(7)—known as the best interests test—requires that creditor

recoveries under the plan are not less than the amount that such creditors would receive or retain




                                               -37-
            Case 22-11068-JTD          Doc 26039        Filed 09/30/24    Page 46 of 51




if the debtors liquidated under chapter 7 of the Bankruptcy Code. 11 U.S.C. § 1129(a). It does

not require disclosure of compensation of directors or officers of post-emergence entities.

                       Nonetheless, the disclosures set forth in the Plan and Plan Supplement

(including the Plan Administration Agreement and Liquidating Trust Agreement) provide

sufficient disclosure to satisfy the requirements of Section 1129(a)(5) of the Bankruptcy Code.

Section 1129(a)(5)(A)(i) requires the disclosure of the identity and affiliations of any post-

emergence directors. These requirements are satisfied by the Debtors’ Plan Supplement

disclosures. (Confirmation Brief, Argument § I.E.) Separately, Section 1129 requires that “the

appointment to, or continuance in, such office of such individual, is consistent with the interests

of creditors and equity security holders and with public policy[.]” 11 U.S.C. § 1129(a)(5)(A)(ii).

This requirement is independent of the best interests test of Section 1129(a)(7) and is satisfied

unless the proposed directors and officers to be appointed would perpetuate mismanagement of

the estate or demonstrate incompetence. See, e.g., In re Linda Vista Cinemas, L.L.C., 442 B.R.

724, 735-36 (Bankr. D. Ariz. 2010) (“Indeed, continued service by prior management may be

inconsistent with the interests of creditors and public policy if it directly or indirectly perpetuates

incompetence, lack of discretion, inexperience or affiliations with groups inimical to the best

interests of the debtor.”); see also 7 Collier on Bankruptcy ¶ 1129.02 (16th ed. 2024) (“[I]f the

bankruptcy court is to have a role beyond the ministerial one of counting ballots, then the public

policy requirement [of Section 1129(a)(5)(A)(ii)] would enable it to disapprove plans in which

demonstrated incompetence or malevolence is a hallmark of the proposed management.”). The

Kavuri Parties have alleged no mismanagement of the Debtors (nor could they). Rather, the

Kavuri Objection solely demands disclosure of compensation to be paid to the post-emergence

directors and officers, and should be overruled.




                                                 -38-
            Case 22-11068-JTD          Doc 26039         Filed 09/30/24     Page 47 of 51




                        Separately, Section 1129 of the Bankruptcy Code requires disclosure of

“the identity of any insider that will be employed or retained by the reorganized debtor, and the

nature of any compensation for such insider.” 11 U.S.C. § 1129(a)(5)(B). But the disclosure

requirement of Section 1129(a)(5)(B) of the Bankruptcy Code only applies to directors and

officers of “the reorganized debtor.” Here, the Kavuri Objection takes issue with compensation

disclosures for directors and officers of the Consolidated Wind Down Trust and the Plan

Administrator, none of whom will be employed or retained by any reorganized debtor in such

capacity. Courts have interpreted the text of Section 1129(a)(5) narrowly, and at least one court

has held that a liquidating trust is not subject to the requirements of Section 1129(a)(5). See,

e.g., In re Sentinel Mgmt. Group, 398 B.R. 281, 308 (N.D. Ill. 2008) (“Neither the Liquidation

Trustee nor the Liquidation Trust Committee constitutes an individual who would serve as a

director, officer, or voting trustee of Sentinel. Further, there is no affiliate of Sentinel

participating in a joint plan with Sentinel, nor is there a successor to Sentinel under the Third

Amended Plan.”).

                        To the extent Section 1129(a)(5)(B) applies, the Debtors have made

sufficient disclosure with respect to the identities and affiliations of the post-emergence directors

and officers, and to the extent that such directors and officers are insiders, have provided

adequate disclosure regarding the nature of their compensation in the Plan Supplement and how

that compensation will be determined by the Consolidated Wind Down Trust Board. The actual

compensation for the Plan Administrator has not yet been determined, nor could it be, because

the Consolidated Wind Down Trust does not yet exist and its Board has not been seated. See In

re Am. Solar King. Corp., 90 B.R. 808, 815 (Bankr. W.D. Tex. 1988) (“The subsection does not

(and cannot) compel the debtor to do the impossible . . . . If there is no proposed slate of




                                                  -39-
             Case 22-11068-JTD           Doc 26039          Filed 09/30/24      Page 48 of 51




directors . . . there is simply nothing further for the debtor to disclose under

subsection (a)(5)(A)(i).”). The Kavuri Objection should be overruled.

        E.      The Late Objection Filed By Mr. Gunawan Should be Overruled.

                         The late objection submitted six weeks after the Plan objection deadline

by Samuel Gunawan, a purported customer of FTX.com [D.I. 25664] (the “Gunawan

Objection”), should be overruled because it is untimely and fails on the merits. The Gunawan

Objection asserts that the Plan was not proposed in good faith as required by section 1129(a)(3)

of the Bankruptcy Code because it does not respect the purported customer property rights of

customers with respect to Exchange Assets. (Gunawan Obj. ¶¶ 1-8, 11-16.) The objection also

asserts the Plan’s failure to acknowledge customers’ purported property rights means that it does

not properly classify claims pursuant to section 1122(a) of the Bankruptcy Code. (Id.) 9

                         As an initial matter, the Gunawan Objection should be overruled because

it is untimely. The Gunawan Objection is dated August 31, 2024 and was not received by either

the Court or the Debtors until September 24, 2024—long after the expiration of the August 16,

2024 objection deadline set by this Court [D.I. 19143], without any explanation or justification.

The Gunawan Objection should be disregarded and overruled on this basis alone. See, e.g., In re

Chandler, 459 B.R. 215, 219 (Bankr. E.D. Pa. 2011) (“A party’s failure to raise an objection to a

proposed plan prior to the deadline fixed by this Court results in a waiver of a party’s right to

object.”).

                         Regardless, Mr. Gunawan’s arguments that the Plan was not proposed in

good faith fail for many of the same reasons as LayerZero Group’s similarly flawed objection.




9
    The Gunawan Objection also purports to incorporate by reference the U.S. Trustee Objection (Gunawan Obj.
    ¶¶ 9-10, 18.), which is addressed elsewhere throughout the Reply.



                                                     -40-
           Case 22-11068-JTD          Doc 26039        Filed 09/30/24   Page 49 of 51




(See Section II.B, supra.) Mr. Gunawan asserts that the Debtors’ efforts to build consensus

around the Plan rather than waste incalculable amounts of time and money litigating about

ownership of all Exchange Assets is somehow a “sign” of the Debtors’ “lack of good faith.”

(Gunawan Obj. ¶ 8.) This is wrong, and the Gunawan Objection reflects a fundamental

misunderstanding of the law.

                       Because Exchange Assets were a commingled mix of customer deposits

and the Debtors’ assets, and they were held in addresses and accounts owned and controlled by

the Debtors, the Exchange Assets are presumptively property of the Debtors’ estates.

(Confirmation Brief, Argument § II.C.i.) The Debtors had no duty to embark on a litigation

campaign to prove that others do not own Exchange Assets. Meoli v. Kendall Electric, Inc. (In

re R.W. Leet Electric, Inc.), 372 B.R. 846, 855-56 (6th Cir. 2007) (“there is simply no authority

for the conclusion that a trustee bears the burden of establishing a negative” as to property

ownership).

                       Further, Mr. Gunawan’s summary arguments about ownership of

Exchange Assets come nowhere close to carrying the burden that he bears as a party seeking to

extract assets from the Debtors’ estates. (See Confirmation Brief, Argument § II.C.ii.) As an

initial matter, Mr. Gunawan’s citations to what appears to be the Dotcom TOS are not coupled

with any argument as to what property rights the Dotcom TOS purportedly granted customers

(e.g., the rights of a trust beneficiary or the rights of a bailor). (Gunawan Obj. ¶¶ 3-4.) And they

are not supported by any evidence of English law sufficient to challenge the Neuberger

Declaration and the Debtors’ evidence and arguments establishing that FTX.com Exchange

Customers are merely unsecured creditors. (Confirmation Brief, Argument §§ II.C.vii-ix.)

Further, there is no basis to impose some “constructive trust” over Exchange Assets “to prevent




                                                -41-
           Case 22-11068-JTD         Doc 26039        Filed 09/30/24    Page 50 of 51




unjust enrichment.” (Gunawan Obj. ¶¶ 11-13.) There will be no unjust enrichment of the

Debtors because the Debtors are not retaining Exchange Assets. (Confirmation Brief, Argument

§ II.C.v.) Lastly, because Mr. Gunawan has failed to show that FTX.com Exchange customers

have any property rights at all, his arguments about how the Plan fails to properly classify

customers’ claims based on their property rights fail to state an objection. (Gunawan Obj. ¶ 14.)




                                               -42-
           Case 22-11068-JTD       Doc 26039         Filed 09/30/24   Page 51 of 51




                                       CONCLUSION

              For the reasons stated above, the Court should overrule the Objections and

confirm the Plan.

Dated: September 30, 2024             LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                      /s/ Kimberly A. Brown
                                      Adam G. Landis (No. 3407)
                                      Matthew B. McGuire (No. 4366)
                                      Kimberly A. Brown (No. 5138)
                                      Matthew R. Pierce (No. 5946)
                                      919 Market Street, Suite 1800
                                      Wilmington, Delaware 19801
                                      Telephone: (302) 467-4400
                                      Facsimile: (302) 467-4450
                                      E-mail: landis@lrclaw.com
                                              mcguire@lrclaw.com
                                              brown@lrclaw.com
                                              pierce@lrclaw.com

                                      -and-

                                      SULLIVAN & CROMWELL LLP
                                      Andrew G. Dietderich (admitted pro hac vice)
                                      James L. Bromley (admitted pro hac vice)
                                      Brian D. Glueckstein (admitted pro hac vice)
                                      Alexa J. Kranzley (admitted pro hac vice)
                                      125 Broad Street
                                      New York, New York 10004
                                      Telephone: (212) 558-4000
                                      Facsimile: (212) 558-3588
                                      E-mail: dietdericha@sullcrom.com
                                               bromleyj@sullcrom.com
                                               gluecksteinb@sullcrom.com
                                               kranzleya@sullcrom.com

                                      Counsel for the Debtors and Debtors-in-Possession




                                              -43-
